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TLF 10/02/2023
SDC- BALTIMORE" USAO#2023R00613
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA CRIMINALNO. RDO = Q>~- 0354
V. (Conspiracy to Engage in an Animal
Fighting Venture, 18 U.S.C. § 371; Buying,
FREDERICK DOUGLASS Selling, Delivering, Possessing, Training, or
MOOREFIELD, JR. Transporting Animals for Participation in
a/k/a “GEEHAD KENNELS” and an Animal Fighting Venture, 7 U.S.C.
MARIO DAMON FLYTHE § 2156(b) and 18 U.S.C. § 49(a); Use of
a/k/a “RAZOR SHARP Postal Service or Other Interstate
KENNELS”, Instrumentality for Promoting or
Furthering an Animal Fighting Venture, 7
Defendants. U.S.C. § 2156(c) and 18 U.S.C. § 49(a);
Interstate and Foreign Travel or
Transportation in Aid of Racketeering
Enterprises, 18 U.S.C. § 1952(a)(3);
Forfeiture, 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461(c))

INDICTMENT

COUNT ONE
(Conspiracy to Engage in an Animal Fighting Venture)

The Grand Jury for the District of Maryland charges that:

INTRODUCTION

At all times relevant to this Indictment:

A. The Defendants

1. Defendants FREDERICK DOUGLASS MOOREFIELD JR., a/k/a “GEEHAD
KENNELS” (“MOOREFIELD”), and MARIO DAMON FLYTHE, a/k/a “RAZOR SHARP

KENNELS” (“FLYTHE”) were Maryland residents.

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B. Animal Fighting Ventures and Dogfighting

De The Animal Welfare Act defines an “animal fighting venture” as “any event, in or
affecting interstate or foreign commerce, that involves a fight conducted or to be conducted
between at least two animals for purposes of sport, wagering, or entertainment.” Under the Animal
Welfare Act, it is illegal to sponsor or exhibit an animal in an animal fighting venture. It is illegal
to possess, train, sell, buy, transport, deliver, or receive an animal for purposes of having the animal
participate in an animal fighting venture. It is also illegal to use the Postal Service or any other
interstate instrumentality—such as the internet or phone-based messaging applications—to
promote or further an animal fighting venture.

3. In the United States, dogfighting ventures usually involve “pit bull-type” dogs,
which are preferred by dogfighters due to the breed’s muscular build, short coat, and the aggression
that some display toward other dogs. Generally, a dogfight occurs when two dogs are released by
their handlers in a controlled environment—often referred to as a “box” or “pit”—to attack each
other and fight. The fight ends when a dog “quits” by refusing to meet another dog in the center
of the box, when a handler “picks up” their dog and forfeits the match, or when one or both dogs
die. A single fight can last for as long as three hours.

4. Dogfighters generally sponsor their dogs in a fight with the goal of obtaining a
“Champion” or “Grand Champion” status for their dogs, which is achieved by a dog winning three
or five fights, respectively.

Ds Because of their conditioning and training, dogs used in animal fighting ventures
are almost always housed separately from other dogs—in pens, cages, or on chains—so that they
will not hurt or kill other dogs when the handler is absent. Heavy chains or weighted collars are

often used when restraining fighting dogs to develop neck strength.

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6. Generally, dogfighters select the strongest, most capable fighting dogs and
selectively breed, sell, and fight only those dogs that display particular traits, including: (1) a dog’s
aggressiveness or propensity to fight other dogs, often referred to by dogfighters as “gameness”;
(2) a willingness to continue fighting another dog despite traumatic and/or mortal injury; and (3)
cardiovascular endurance to continue fighting for long periods of time and through fatigue and
injury. Dogs displaying those attributes are often bred with other dogs displaying similar traits to
enhance the bloodline of these dogs for dogfighting purposes. Dogfighters generally keep such
dogs solely for dogfighting purposes. In order to breed these dogs, dogfighters often use an
apparatus to which a female dog will be strapped in order to involuntarily inseminate the dog.
Dogfighters refer to this apparatus as a “rape rack.”

De Once a dogfighter locates an opponent and agrees upon terms for a fight, a match
is set up or “hooked.” When hooking a fight, the two dogfighters will try to match dogs of the
same weight and sex. This practice is known as “calling out a weight.” When calling out a weight,
dogfighters will also agree on the amount to be wagered on the fight, as well as a separate “forfeit”
amount to be paid out if a dogfighter backs out of a fight after it has been hooked. Even ifa fight
does not have live spectators, others can place wagers on the outcome of the fight. Those wagers
are arranged and enforced through the internet—including through messaging applications such
as Telegram—and the amounts owed can be paid in cash or using a digital payment platform such
as CashApp. If a wager or forfeit is paid through CashApp, the bettor will often describe the
transaction as being for something other than dogfighting.

8. Fights are often hooked six to eight weeks in advance. During that time, the
dogfighters put their dogs through a conditioning process referred to as a “keep.” A keep involves

a physical training program, including the use of treadmills for running and exercising the dog

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away from public view: weight pulls used to increase the dog’s strength and stamina; and devices
such as “spring poles” and “flirt poles” to build jaw strength and increase aggression. A keep’s
training regimen can take place at a dogfighter’s “yard” or indoors, away from public view.
Generally, a keep also involves a nutritional plan for the dog, including the administration of drugs,
vitamins, and other medicine, such as veterinary-grade steroids used to build muscle mass and
aggression. Dogs matched for future fights are expected to achieve their established target weight
by the scheduled match, similar to human boxing matches, which requires close attention to all
aspects of the dog’s keep routine.

9. Before being sponsored in a fight, dogs may also be “rolled” to determine their
gameness. A “roll” is functionally identical to an organized dogfight except that it is shorter in
duration: the handlers are usually expected to separate the dogs after no more than ten or fifteen
minutes. Dogs can be injured during a roll just as they would be injured during the course of an
organized dogfight.

10. Dogs who have been used in dogfighting may display injuries from fights, such as
scars, puncture wounds, swollen faces, or mangled ears. Scars from organized dogfights are
commonly found on the face and front legs, as well as on hind ends and thighs. Dogfighters
commonly obtain veterinary medicines and medical devices to treat their dogs’ injuries without
risking scrutiny that might come from bringing the injured dog to a veterinarian.

11. Dogs that lose fights or fail to show gameness are often killed. It is not uncommon
for dogs that lose matches to be killed in cruel, torturous, and inhumane ways as a form of

punishment.
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C. The “DMV Board” or “The Board,” ““Geehad Kennels.” and “Razor Sharp Kennels”

12. It can be challenging for dogfighters to find an opponent with a dog of the same
weight and sex who is looking to sponsor that dog in a fight at the same time of year, and for a
wager that is mutually agreeable to both parties. For that reason, dogfighters rely heavily on each
other, and extensive networks of contacts, to “call out a weight” and find a match. Dogfighters
often call out a weight to other known dogfighters in several states to increase their odds of finding
amatch. This is often done over the internet.

13. To maintain contact with each other to discuss dogfighting, to exchange photos and
videos about dogfighting, dogfighters in the area of the District of Columbia, Maryland, and
Virginia created private groups on the Telegram messaging application that they generally referred
to as “The DMV Board” or “The Board.” Those groups had as many as 28 members at one time,
which included several now-convicted dogfighters.

14. In a message sent to one of the DMV Board groups on or around June 28, 2020,
convicted dogfighter Derek Garcia posted the results of dogfights, including a fight between
kennels named “G-Code” and “Geehad.” Defendant MOOREFIELD’s phone number is identified
in the contact list of several DMV Board members, and he is identified in those contact lists under
various names, including “Geehad Fred.” During a search of Defendant MOOREFIELD’s
residence conducted on or about September 6, 2023, agents from the Federal Bureau of
Investigation (“FBI”) found and seized a weighted vest sized to fit a dog’s body with a patch
reading “Geehad Kennels.” During that search, Defendant MOOREFIELD also admitted to agents
that he uses the alias “Geehad Kennels” to identify himself.

15. On or about April 27, 2023, FBI agents showed a photo of Defendant

MOOREFIELD to a convicted dogfighter who has signed a cooperation agreement in the Western

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District of Virginia (referenced herein as “CW1”). CW1 identified the person in the photo as
“Pred” and “Geehad” and stated “Fred” was last at his residence in 2021 to “roll” some dogs. CW1
also stated that “Fred” was affiliated with “Razor Sharp Kennels.” CW4 identified “Razor Sharp
Kennels” as “Mario Dogs” in his contacts list. The contact information for “Mario Dogs” matched
Defendant FLYTHE’s phone number and home address. During a search of his residence
conducted on or about September 6, 2023, Defendant FLYTHE admitted to FBI agents that he
uses the alias “Razor Sharp Kennels” to identify himself.

MANNER AND MEANS OF THE CONSPIRACY

Among the manner and means by which the Defendants and others conducted and
participated in the conspiracy were the following:

16. Members of the conspiracy trained and used pit bull-type dogs for dogfights.

17. Members of the conspiracy kept at their properties and trained fighting dogs owned
by themselves as well as by other conspirators.

18. Members of the conspiracy traveled to dog fights held at locations owned and/or
arranged by themselves and other conspirators.

19. | Members of the conspiracy exchanged information about wagers and placed wagers
on dogfights in which were entered dogs bred, trained, or owned by themselves and by other
conspirators.

20. Members of the conspiracy used cell phones and direct messages to discuss
dogfights, dogfighting, breeding fighting dogs, training techniques to maximize their chances of
developing champion fighting dogs, and methods to avoid being caught by law enforcement.

21. | Members of the conspiracy further used the encrypted messaging applications

Telegram and WhatsApp to discuss training fighting dogs, buy and sell veterinary supplies for use

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on fighting dogs, exchange videos about dogfighting, arrange and coordinate dogfights, and
exchange information about wagers on dogfights, away from the view of law enforcement
authorities.

22. Members of the conspiracy used the names of their dogfighting operations and/or
kennels to refer to themselves as well as to their dogfighting operations and/or kennels.

23 Members of the conspiracy used the Telegram and WhatsApp messaging
applications to circulate media reports about dogfighters who had been caught by law enforcement
and to discuss methods to minimize the likelihood that they would be caught themselves.

OVERT ACTS IN FURTHERANCE OF THE CONSPIRACY

In furtherance of the conspiracy, and to accomplish the objects of the conspiracy, the
Defendants and their conspirators committed overt acts, including but not limited to the following:

24. In or around November 2018, Anne Arundel County Animal Control responded to
a report of two dead dogs in a plastic dog food bag in Annapolis, Maryland. In the bag with the
dogs, investigators found mail addressed to Defendant MOOREFIELD at his residence in Arnold,
Maryland. The dogs bore wounds and scarring patterns that were consistent with dogfighting, and
a necropsy determined that the distribution and number of recent and healed dog bite wounds and
scars present on both dogs was consistent with organized dogfighting.

Das In a WhatsApp message exchange in or around February 2019, Defendant
MOOREFIELD sent a dogfighting associate known as “Big Goon” a message attempting to
“hook” a 39-pound female dog in a fight for a $3,000 wager.

26. In a WhatsApp message exchange in or around March 2020, Defendant
MOOREFIELD sent “Big Goon” a message linking a news article regarding a Columbia, South

Carolina man who was convicted on federal dogfighting charges.

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2h In a WhatsApp message exchange in or around April 2022, Defendant
MOOREFIELD sent a dogfighting associate known as “Rio” messages indicating that Defendant
MOOREFIELD was scheduled to “ref” (referee) a dogfight in Baltimore.

28. In a WhatsApp message exchange in or around May 2022 between Defendant
MOOREFIELD and “Rio,” Defendant MOOREFIELD described a dogfighter known as
“Bushboy” as his “partner” in sponsoring a 43-pound male dog in a dogfight against one of “Rio’s”
dogs.

29, In a Telegram message exchange in or around May 2022 between Defendant
MOOREFIELD, “E Z,” and “HardWay,” Defendant MOOREFIELD and HardWay “hooked” a
fight between 42-pound female dogs for a $4,000 wager with a $1,000 forfeit. The fight was
scheduled to take place in New Jersey eight weeks from that exchange.

30. In a WhatsApp message exchange in or around June 2022, Defendant
MOOREFIELD sent messages to a family member indicating that Defendant FLYTHE was
sponsoring a 35-pound female dog in a fight in Philadelphia the following month.

31. In a WhatsApp message exchange in or around March 2023, Defendant
MOOREFIELD sent a message to an associate in which he encouraged the associate to use
Telegram instead of WhatsApp for messaging due to Telegram’s encryption.

32. In or around March 2023, Defendant MOOREFIELD filmed videos showing what
appeared to be fighting dogs training on treadmills in his home.

33. In a text message exchange in or around March 2023, Defendant MOOREFIELD
sent Defendant FLYTHE two pictures of a dog wearing a weighted collar on a leash. Defendant

MOOREFIELD later sent messages indicating that this dog won a fight that lasted one hour and

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18 minutes by killing the other dog in the fight. Defendant FLYTHE replied “We’re up next my
a.”

34. In a WhatsApp message exchange in or around April 2023, Defendant
MOOREFIELD sent a dogfighting associate (referenced herein as “CW2”) a video showing two
dogs on separate treadmills that was filmed in the unfinished portion of the lower level of
Defendant MOOREFIELD’s home. Defendant MOOREFIELD sent messages accompanying the
videos that indicated that one of the dogs was “hooked” in a fight against a DMV Board member
known as “425 Kennels.”

35. In a WhatsApp message exchange in or around April 2023, Defendant
MOOREFIELD told Defendant FLYTHE that a May 20, 2023 fight was “back on” for a 36.5-
pound dog for a wager of $1,500 with a $500 forfeit.

36. In another WhatsApp message exchange in or around April 2023, Defendant
MOOREFIELD told CW2 that he had “locked back in” a fight for one of his 36.5-pound male
dogs on May 20, 2023 for a wager of $1,500 with a $500 forfeit.

37. On or around May 20, 2023, as shown by Defendant MOOREFIELD’s EZ Pass toll
records, Defendants MOOREFIELD and FLYTHE drove to a dogfight in Defendant
MOOREFIELD’s vehicle.

38. Ina Telegram message exchange in or around September 2023 with “Big Goon,”
Defendant MOOREFIELD arranged to wager $700 on a dogfight he was not able to attend in-
person. After “Big Goon” showed a video of the dog Defendant MOOREFIELD bet on “quitting”
after 50 minutes, Defendant MOOREFIELD indicated that going forward he would not be “betting

on nobodies dogs but mine.”

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39.  Onor around September 6, 2023, Defendant MOOREFIELD was in possession of
five pit bull-type dogs that were found in thick-barred metal cages in the unfinished portion of the
lower level of Defendant MOOREFIELD’s home.

40. On or around September 6, 2023, Defendant MOOREFIELD was in possession of
the following items consistent with engaging in dogfighting:

a. veterinary medicine (including Winstrol, an anabolic steroid) and veterinary tools
(including syringes and a medical staple gun);

b. arolled-up grey carpet with dark stains, which appears consistent with blood stains
derived from multiple dogfights;

c. items used to train fighting dogs, including weighted collars, heavy chains, and a
weighted vest bearing the name “Geehad Kennels”;

d. a “keep” training schedule;

e. a “rape rack”; and

f. a device consisting of jumper cables attached to an electrical plug, which appears
to have been used to electrocute dogs after losing fights.

41. On or around September 6, 2023, Defendant FLYTHE was in possession of seven
pit bull-type dogs found in the back yard and lower level of Defendant FLYTHE’s home.

42. On or around September 6, 2023, Defendant FLYTHE was in possession of the
following items consistent with engaging in dogfighting:

a. atreadmill;
b. a “carpet mill” (a treadmill using carpeted flooring in place of a traditional belt);
c. other items used for training fighting dogs, including weighted collars;

d. paperwork regarding dog lineage;

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e. dog pedigrees; and
f. a‘‘Canine Athletes” business card.

THE CHARGES

43. From in or around November 2018 and continuing until in or around September
2023, in the District of Maryland and elsewhere, the Defendants,

FREDERICK DOUGLASS MOOREFIELD, JR. a/k/a “GEEHAD KENNELS” and
MARIO DAMON FLYTHE a/k/a “RAZOR SHARP KENNELS”,

did knowingly and unlawfully conspire with one another and with co-conspirators “Big Goon,”
“Bushboy,” “425 Kennels,” and others, known and unknown to the Grand Jury, including
individuals known as “Rio,” “E Z,” and “HardWay,” to commit the following offenses:

a. To sponsor and exhibit dogs in animal fighting ventures, in violation of Title 7, United
States Code, Section 2156(a) and Title 18, United States Code, Section 49(a);

b. To sell, buy, possess, train, transport, deliver, and receive dogs for purposes of having the
dogs participate in animal fighting ventures, in violation of Title 7, United States Code,
Section 2156(b) and Title 18, United States Code, Section 49(a);

c. To use instrumentalities of interstate commerce for commercial speech for the purposes of
advertising animals for use in animal fighting ventures, promoting, and in other manners
furthering animal fighting ventures, in violation of Title 7, United States Code, Section
2156(c) and Title 18, United States Code, Section 49(a); and

d. Tousea facility in interstate commerce, namely the internet, Telegram, and other text- and
instant-messaging applications, with the intent to promote, manage, establish, carry on and
facilitate the promotion, management, establishment and carrying on of an unlawful

activity, that is, a business enterprise involving gambling in violation of the laws of

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Maryland and of the United States, in violation of Title 18, United States Code, Section

1952(a)(3).

18 U.S.C. § 371

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COUNTS TWO THROUGH SIX
(Buying, Selling, Delivering, Possessing, Training, or Transporting Animals for
Participation in an Animal Fighting Venture)

The Grand Jury for the District of Maryland further charges that:

1. The allegations set forth in Paragraphs | through 42 of Count One of this Indictment
are incorporated here.

2. On or about the following dates, in the District of Maryland and elsewhere, the
Defendants,

FREDERICK DOUGLASS MOOREFIELD, JR. a/k/a “GEEHAD KENNELS?” and
MARIO DAMON FLYTHE a/k/a “RAZOR SHARP KENNELS”,

did knowingly and unlawfully possess, train, transport, deliver, and receive dogs for purposes of

having the dogs participate in an animal fighting venture, as referenced in the Overt Acts listed

below:
Count Defendant(s) Date Overt Act(s)
2 FLYTHE June 2022 30
3 MOOREFIELD March 2023 32
4 MOOREFIELD and FLYTHE __| March 2023-May 2023 33-37
5 MOOREFIELD September 2023 39-40
6 FLYTHE September 2023 41-42

7 US.C. § 2156(b)
18 U.S.C. § 49(a)

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COUNT SEVEN
(Use of Postal Service or Other Interstate Instrumentality for Promoting or Furthering an
Animal Fighting Venture)

The Grand Jury for the District of Maryland further charges that:

1. The allegations set forth in Paragraphs | through 42 of Count One of this Indictment
are incorporated here.

2s From in or around March 2023 and continuing through in or around May 2023, in
the District of Maryland and elsewhere, the Defendants,

FREDERICK DOUGLASS MOOREFIELD, JR. a/k/a “GEEHAD KENNELS” and
MARIO DAMON FLYTHE a/k/a “RAZOR SHARP KENNELS”,

did knowingly and unlawfully use an instrumentality of interstate commerce for commercial
speech, namely the internet, Telegram, WhatsApp, and other text- and instant-messaging
applications, for the purposes of advertising an animal fighting venture, and promoting and in any
other manner furthering an animal fighting venture, as referenced in the Overt Acts described in

Paragraphs 33 through 37 of Count One of this Indictment.

7 U.S.C. § 2156(c)
18 U.S.C. § 49(a)

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COUNTS EIGHT THROUGH TEN
(Interstate and Foreign Travel or Transportation in Aid of Racketeering Enterprises)

The Grand Jury for the District of Maryland further charges that:

1. The allegations set forth in Paragraphs | through 42 of Count One of this Indictment
are incorporated here.

2. On or about the following dates, in the District of Maryland and elsewhere, the
Defendants,

FREDERICK DOUGLASS MOOREFIELD, JR. a/k/a “GEEHAD KENNELS” and
MARIO DAMON FLYTHE a/k/a “RAZOR SHARP KENNELS”,

used a facility in interstate commerce, namely the internet, Telegram, WhatsApp, and other text-
and instant-messaging applications, with the intent to promote, manage, establish, carry on and
facilitate the promotion, management, establishment and carrying on of an unlawful activity, that
is, a business enterprise involving gambling in violation of 7 U.S.C. § 2156 and Md. Code Crim.
Law § 12-102(a)(3), and thereafter performed and attempted to perform acts to promote, manage,
establish and carry on, and to facilitate the promotion, management, establishment and carrying

on of such unlawful activity, as referenced in the Overt Acts listed below:

Count Defendant(s) Date Overt Act(s)
8 MOOREFIELD February 2019 25

9 MOOREFIELD and FLYTHE _| March 2023-May 2023 33-37

10 MOOREFIELD September 2023 38

18 U.S.C. § 1952(a)(3)

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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant that
the United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C. §
981(a)(1)(C) and 28 U.S.C. § 2461(c), in the event of the Defendants’ convictions under Counts
Eight through Ten of this Indictment.

Travel Act Forfeiture

2. Upon conviction of any of the offenses alleged in Counts Eight through Ten of this

Indictment, the Defendants,

FREDERICK DOUGLASS MOOREFIELD, JR. a/k/a “GEEHAD KENNELS” and
MARIO DAMON FLYTHE a/k/a “RAZOR SHARP KENNELS”,

shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

any property, real or personal, which constitutes or is derived from proceeds traceable to such

offense(s).

Substitute Assets

3. If, as a result of any act or omission of the defendant, any of the property described
above as being subject to forfeiture):
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided

without difficulty,

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the United States shall be entitled to forfeiture of substitute property up to the value of the

forfeitable property pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

18 U.S.C. § 981(a)(1)(C)
28 U.S.C. § 2461(c)

bok Lh Kun APL

Erek L. Barron
United States Attorney

A TRUE BILL:
Sunt mE REDACTED 1013 }92,
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